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                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

  SECURITIES AND EXCHANGE
  COMMISSION,

              Plaintiff,

  v.                                      Case No. 8:20-cv-325-T-35AEP

  BRIAN DAVISON,
  BARRY M. RYBICKI,
  EQUIALT LLC,
  EQUIALT FUND, LLC
  EQUIALT FUND II, LLC,
  EQUIALT FUND III, LLC,
  EA SIP, LLC,

              Defendants,
  and

  128 E. DAVIS BLVD., LLC;
  et al.,

             Relief Defendants.
  ____________________________________/

        RECEIVER’S FOURTH QUARTERLY FEE APPLICATION FOR
       ORDER AWARDING FEES, COSTS, AND REIMBURSEMENT OF
            COSTS TO RECEIVER AND HIS PROFESSIONALS

         Burton W. Wiand, the Court-appointed Receiver over the corporate

  Defendants and all Relief Defendants (the “Receiver” and the “Receivership”

  or “Receivership Estate”) pursuant to the Court’s Order dated February 14,
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  2020 (Doc. 11) (the “Order Appointing Receiver”), 1 respectfully submits this

  Fourth Quarterly Fee Application to the Court for the entry of an order

  awarding fees and the reimbursement of costs to the Receiver and his

  professionals.     This Application covers all fees and costs incurred from

  October 1, 2020 through December 31, 2020. A Standardized Accounting

  Report (the “Accounting Report”) from October 1, 2020 through December 31,

  2020 is attached as Exhibit 1. 2

        Since the appointment of the Receiver, he and those he has retained to

  assist him have engaged in substantial and continuing efforts for the benefit

  of the Receivership.      During the time covered by this Application, among

  other things, the Receiver and his professionals have done the following:

         • Held auction for the sale of Brian Davison’s high-end vehicles:

                o 2020 Bentley Convertible GTC V8 - $230,360 (net $45,896.13)
                o 2019 Rolls Royce Cullinan - $326,400 (net $75,551.74)
                o 2018 Pagani Huayra – the reserve was not met on this vehicle
                  but the Receiver continues to receive private offers and is
                  optimistic regarding the sale of this vehicle.

         • Helped negotiate the sale of Barry Rybicki’s 2017 Porsche Targa 4S -
           $105,000 (net $65,844.35);

  1      On August 17, 2020, the Court granted the Receiver’s Motion to Expand the
  Receivership to include EquiAlt Qualified Opportunity Zone Fund, EquiAlt QOZ Fund GP,
  LLC, EquiAlt Secured Income Portfolio REIT, Inc., EquiAlt Holdings LLC, EquiAlt
  Property Management LLC, and EquiAlt Capital Advisors, LLC (“REIT and QOZ Entities”)
  (Doc. 184).

  2  The Securities and Exchange Commission (“SEC” or the “Commission”) provided the
  Receiver with detailed Billing Instructions for Receivers in Civil Actions Commenced by the
  Commission (the “Billing Instructions”). The Accounting Report is one of the requirements
  contained in the Billing Instructions.


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       • Sought and obtained approval from the Court for the sale of the
         following properties and garnered these net proceeds:

             o   4203 West Bay Villa Avenue, Tampa - $495,336.53
             o   5324 5th Avenue North, St. Petersburg - $216,492.08
             o   6209 2nd Avenue North, St. Petersburg - $256,599.29
             o   2236 Gabarone Boulevard, Auburndale - $160,941.87

       • Listed for sale a number of other properties totaling over $6 million
         and is actively considering offers on these properties;

       • Completed the construction of a waterfront luxury home at 2
         Bahamas Circle in Tampa and listed it for sale for $4,150,000;

       • Spent significant energies and resources working with partners in
         Commerce Brewing to continue operations and provide for
         additional investors. The Partners are attempting to restructure the
         business and add additional financing from partners and the
         Receivership with the belief that this can result in significant
         benefits to the Receivership. Other ventures continue to be
         evaluated regarding the determination of whether to pursue or
         liquidate these business opportunities;

       • Continued investigation of Brian Davison watch collection;

       • Responded to jurisdictional issues in the Receiver’s California
         federal case against attorney Paul Wassgren, Fox Rothschild and
         DLA Piper by filing a similar state court action in California and
         moving to dismiss the federal case;

       • Continued negotiations with Class Action counsel regarding the
         production of EquiAlt documents and privilege issues;

       • Moved to stay the state court case Mar v. Morh;

       • EquiAlt Fund II received back the remaining $500,000 of its
         investment in Alternative Capital;

       • Continued analyzing investors’ investments and distributions in
         preparation for clawbacks and the initiation of claims process;

       • Maintained and updated the Receiver’s website for the benefit of
         EquiAlt investors;

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        • Continued to register investors – approximately 32 additional
          registrations since the last status report (for a total of 844
          registrations) – and have continued to field inquiries from investors
          – over 120 emails and over 182 telephone calls this quarter;

        • Continued to run the day-to-day operations of the Receivership
          Entities which includes the management of almost 300 real estate
          properties, many of which are multi-family properties. These
          activities include collection of rent, construction, rehab of properties,
          handling of maintenance requests and continuing the operations in
          a COVID-19 environment.

  The above activities are discussed in more detail in the Receiver’s Fourth

  Quarterly Status Report which was filed on February 15, 2021 (Doc. 265) (the

  “Quarterly   Status   Report”).   The   Quarterly    Status   Report    contains

  comprehensive and detailed information regarding the case background and

  status; the recovery of assets; financial information about Receivership

  Entities; the Receiver’s proposed course of action regarding assets in the

  Receivership Estate; the potential establishment of a claims process; and

  related (and/or contemplated) litigation involving Receivership Entities. The

  Quarterly Status Report addresses all activity that resulted in the fees and

  costs sought in this motion.

                                 Case Background

        As of the date of filing this Application, the Court has appointed Burton

  W. Wiand as Receiver over the assets of the following entities:

        a)     Defendants EquiAlt LLC; EquiAlt Fund, LLC; EquiAlt Fund II,
               LLC; EquiAlt Fund III, LLC; and EA SIP, LLC;




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       b)    Relief Defendants 128 E. Davis Blvd, LLC; 310 78th Ave,
             LLC; 551 3D Ave S, LLC; 604 West Azeele, LLC; 2101 W.
             Cypress, LLC; 2112 W. Kennedy Blvd, LLC; 5123 E. Broadway
             Ave, LLC; Blue Waters TI, LLC; BNAZ, LLC; BR Support
             Services, LLC; Bungalows TI, LLC; Capri Haven, LLC; EA NY,
             LLC; EquiAlt 519 3rd Ave S., LLC; McDonald Revocable Living
             Trust; Silver Sands TI, LLC; TB Oldest House Est. 1842, LLC;
             and

       c)    EquiAlt Qualified Opportunity Zone Fund, EquiAlt QOZ Fund
             GP, LLC, EquiAlt Secured Income Portfolio REIT, Inc., EquiAlt
             Holdings LLC, EquiAlt Property Management LLC, and EquiAlt
             Capital Advisors, LLC (“REIT and QOZ Entities”).

  See Docs. 11 and 184. The foregoing entities are collectively referred to as

  the “Receivership Entities.” On February 11, 2020, the Securities and

  Exchange Commission (“SEC”) filed a complaint (Doc. 1) against the

  Defendants and Relief Defendants. The complaint charges the Defendants

  with violations of the federal securities laws and regulations in connection

  with a real estate Ponzi scheme. The SEC alleges that from January 2010 to

  November 2019, EquiAlt raised more than $170 million from approximately

  1100 investors to invest in three separate real estate funds. The SEC alleges

  that EquiAlt misrepresented the use of the proceeds of the investments and

  that Defendants Davison and Rybicki, who controlled the operations of the

  corporate Defendants, misappropriated monies from EquiAlt to the detriment

  of the investors. As directed by the Court (see Doc. 11 ¶ 2) and discussed in

  the Quarterly Status Report, the Receiver is conducting an independent

  investigation of the Receivership Entities and their operations. Although the


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  Receiver’s findings are preliminary, there is abundant evidence that supports

  the allegations that the Defendants were operating a fraudulent investment

  scheme.

            Professional Services Rendered and Costs Incurred

        The Order Appointing Receiver authorizes the Receiver to “solicit

  persons and entities (‘Retained Personnel’) to assist him in carrying out the

  duties and responsibilities described in this Order” and states that the

  “Receiver and Retained Personnel are entitled to reasonable compensation

  and expense reimbursement from the Receivership Estates,” subject to

  approval by the Court.     See Doc. 11 ¶¶ 31, 32.      The Order Appointing

  Receiver also requires that the Receiver obtain the Court’s authorization of

  the retention of any Retained Personnel. See Doc. 11 ¶ 31. Paragraph 6 of

  the Order Appointing Receiver provides for the Receiver to engage persons

  “to assist the Receiver in carrying out the Receiver’s duties and

  responsibilities, including . . . accountants . . . .” To that end, the Receiver

  retained PDR CPAs (“PDR”) to assist with general accounting and tax

  services for the Receivership. Out of an abundance of caution, the Receiver

  filed an unopposed motion to approve the retention of PDR on April 9, 2020.

  The Court granted this motion on May 11, 2020 (Doc. 85).

        The Order Appointing Receiver also specifically authorized the

  Receiver to retain (1) Wiand Guerra King P.A., now known as Guerra King


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  P.A., (“GK”) to provide legal services; (2) Yip Associates (“Yip”) to provide

  forensic accounting services; (3) E-Hounds, Inc. (“E-Hounds”) to provide

  computer forensic services; (4) RWJ Group, LLC (“RWJ”) to provide asset

  management and investigative services; 3 (5) Freeborn & Peters LLP

  (“Freeborn”) to provide legal services relating to information technology; (6)

  Baskin Richards PLC (“Baskin”), legal counsel in Arizona, to assist in the

  service of the Order Appointing Receiver and securing records and assets;

  and (7) Digital Acuity LLC (“Digital Acuity”), forensic investigators in

  Arizona, to assist in securing records (the foregoing and PDR are collectively,

  the “Professionals”). 4 See Doc. 11 ¶¶ 3, 16. 5 (Doc. 88).



  3   RWJ is no longer providing services to this Receivership at this time.

  4  The Order Appointing Receiver specifically authorized the Receiver to retain
  “investigators, and counsel in Phoenix, Arizona to assist in the service of the Order and
  securing of records and assets.” See Doc. 11 ¶ 3. Pursuant to this paragraph, the Receiver
  retained Baskin and Digital Acuity as stated above. Digital Acuity aided the Receiver with
  the imaging of the hard drives and other computer equipment at the EquiAlt offices in
  Arizona. This was a one-time expense for the Receivership, and thus, Digital Acuity is no
  longer providing services to the Receivership.

  5  On June 26, 2020, the Receiver filed a motion for leave to retain Johnson Pope Bokor
  Ruppel & Burns, LLP (“Johnson Pope”) on a contingency fee basis to investigate and pursue
  claims against law firms that provided services to EquiAlt, LLC or another Receivership
  Entity (Doc. 121), which the Court granted on July 1, 2020 (Doc. 127). In addition to
  agreeing to work on a contingency fee basis as outlined in the motion to retain Johnson
  Pope, the firm has also agreed to advance costs subject to reimbursement from any recovery
  with the exception of costs associated with E-Hounds and Yip Associates. Any costs
  incurred by Yip Associates and E-Hounds in connection with Johnson Pope’s investigation
  and any eventual litigation will be included in the invoices for these two professionals in
  the Receiver’s fee applications. As with any contingency fee arrangement, Johnson Pope is
  only entitled to payment if it procures a successful resolution of the Receiver’s potential
  claims.



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        As described above and more fully in the Quarterly Status Report, the

  Professionals have provided services and incurred expenses to investigate the

  affairs of the Receivership Entities, preserve Receivership assets, attempt to

  locate and recover additional assets, and analyze investor information for an

  eventual claims process and possible litigation. The Receivership is also

  selling certain assets and properties and preserving those proceeds for the

  benefit of the victim investors. While the Receiver and his professionals are

  investigating and locating and preserving assets for the benefit of defrauded

  investors, they are also continuing to operate the Receivership Entities. This

  case involves over 1100 investors and over $170 million in investments. The

  Receiver is responsible for the active management of over 350 properties, the

  assessment of pending construction and maintenance projects, as well as

  supervising employees and property managers. The services provided by the

  Receiver and his professionals are for the benefit of aggrieved investors,

  creditors, and other interested parties.

  I.    The Receiver.

        The Receiver requests the Court award him fees for the professional

  services rendered from October 1, 2020 through December 31, 2020, in the

  amount of $61,740.00. The standard hourly rate the Receiver charges clients

  in private litigation is $500. However, the Receiver agreed, for purposes of

  his appointment as the Receiver, that his hourly rate would be reduced to


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  $360, representing nearly a thirty percent discount off the standard hourly

  rate which he charges clients in comparable matters. This rate was set forth

  in the Receiver’s submission to the SEC. See Doc. 6, Ex. 1.

         The Receiver commenced services immediately upon his appointment.

  The Receiver has billed his time for these activities in accordance with the

  Billing Instructions, which request that this motion contain a narrative of

  each “business enterprise or litigation matter” for which outside professionals

  have been employed. The Billing Instructions identify each such business

  enterprise or litigation matter as a separate “project.” Further, the Billing

  Instructions request that time billed for each project be allocated to one of

  several Activity Categories. 6 At this stage of the Receivership, no separate

  matters have been commenced to warrant billing as a separate project.




  6  The Activity Categories set forth by the Commission in the Billing Instructions are as
  follows: (1) Asset Analysis and Recovery, which is defined as identification and review of
  potential assets including causes of action and non-litigation recoveries; (2) Asset
  Disposition, which is defined as sales, leases, abandonment and related transaction work
  (where extended series of sales or other disposition of assets is contemplated, the Billing
  Instructions provide that a separate category should be established for each major
  transaction); (3) Business Operations, which is defined as issues related to operation of an
  ongoing business; (4) Case Administration, which is defined as coordination and compliance
  activities, including preparation of reports to the court, investor inquiries, etc.; (5) Claims
  Administration and Objections, which is defined as expenses in formulating, gaining
  approval of and administering any claims procedure; and (6) Employee Benefits/Pensions,
  which is defined as review issues such as severance, retention, 401K coverage and
  continuance of pension plan. The Billing Instructions provide that time spent preparing
  motions for fees may not be charged to the Receivership Estate. In accordance with these
  instructions, the Receiver created an additional Activity Category for work on fees motions
  and has accounted for time spent on such work but has not charged any amount for that
  work.


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        For the time covered by this motion, the work of the Receiver and GK

  focused on investigating the fraud and related activities, locating and taking

  control of Receivership assets, investigating and pursuing additional assets

  for the Receivership, and analyzing investor information for an eventual

  claims process and possible litigation. These activities of the Receiver are set

  forth in detail in the Quarterly Status Report. Ex. 2. A copy of the statement

  summarizing the Receiver’s services rendered for the Receivership is

  attached as Exhibit 2. The Receiver’s time and fees for services rendered for

  each Activity Category from October 1, 2020 through December 31, 2020, are

  as follows:

                                 Receivership
                Receiver’s Time and Fees for Services Rendered

                                           Hours
                   Activity Category      Expended Fee Amount
                 Asset Disposition            88.70 $31,932.00
                 Asset Analysis and
                 Recovery                      45.20    $16,272.00
                 Business Operations           30.90    $11,124.00
                 Case Administration            6.40     $2,304.00
                 Claims Administration          0.30       $108.00
                 TOTAL                        171.50    $61,740.00


  II.   Guerra King P.A.

        The Receiver requests the Court award GK fees for professional

  services rendered and costs incurred from October 1, 2020 through December

  31, 2020, in the amounts of $111,699.00 and $7,363.03, respectively. As an


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  accommodation to the Receiver and to conserve the resources of the

  Receivership Estate, GK’s attorneys and paralegals have agreed to reduce

  their standard rates as provided in the fee schedule attached as Exhibit 3. As

  shown in the fee schedule, GK agreed to limit its partner rates, which

  typically range from $315 to $475, to $350 per hour and its associate rates,

  which range from $235 to $290, to $240 per hour. Ex. 4. GK began providing

  services immediately upon the appointment of the Receiver. The activities of

  GK for the time covered by this Application are set forth in the Quarterly

  Status Report.    See Ex. 2.    GK has billed time for these activities in

  accordance with the Billing Instructions. As discussed above, the work of the

  Receiver and GK focused on investigating the fraud and related activities,

  locating and taking control of Receivership assets, investigating and pursuing

  additional assets for the Receivership, and analyzing investor information for

  the eventual claims process and possible litigation. (Doc. 265) A copy of the

  statement summarizing the services rendered and costs incurred by GK from

  October 1, 2020 through December 31, 2020, is attached as Exhibit 4. GK’s

  time and fees for services rendered on this matter for each Activity Category

  are as follows:




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                              Receivership
                 GK’s Time and Fees for Services Rendered

                                            Hours
                  Activity Category        Expended Fee Amount
                Asset Disposition             118.20 $27,144.50
                Asset Analysis and
                Recovery                            163.60     $48,518.00
                Business Operations                  64.10     $12,578.50
                Case Administration                 139.90     $23,088.50
                Claims Administration                 1.40     $369.50
                TOTAL                               487.20 $111,699.00


  A summary of the professionals’ hours rendered during the time covered by

  this Application is set forth below.




                                           Yrs. Billed
  Professional                Position     Exp. Hours             Rate        Total
  Katherine Donlon
  (KCD)                       Partner          25     134.60    $350.00      $47,110.00
  Jared J. Perez (JJP)        Partner          15       6.10    $350.00       $2,135.00
  Maya Lockwood (MML)        Of Counsel        21       1.40    $240.00        $336.00
  Max McKinley (RMM)          Associate        5      147.90    $240.00      $35,496.00
  Jeffrey Rizzo (JR)          Paralegal                72.40    $135.00       $9,774.00
  Amanda Stephens (AS)        Paralegal               123.50    $135.00      $16,672.50
  Mary Gura (MG)              Paralegal                 1.30    $135.00        $175.50
  Fees                                                                      $111,699.00
  Disbursements                                                               $7,363.03
  Total                                               487.20                $119,062.03




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         In addition to legal fees, GK has advanced costs of $7,363.03 as

  summarized below.

                           Costs                     Total
                           Photocopies                 $57.45
                           Telephone                   $71.65
                           Online Research            $545.66
                           Delivery
                           Services                  $350.55
                           Court Fees                  $53.00
                           Other                    $6,284.72
                           Total                    $7,363.03

  The “Other” category of costs includes costs related to the Receiver’s website

  and auction website as well as costs related to the publication of various

  notices for real estate sold during this quarter and research regarding real

  properties.   Additionally,     $3,795.00    of   the   “Other”    amount   includes

  advertising expenses for the auction of several high-end, luxury vehicles. The

  Court approved the marketing and sale of these vehicles on November 2,

  2020 (Doc. 210).

  III.   Yip Associates.

         The Receiver requests the Court award Yip fees for professional

  services rendered and costs incurred from October 1, 2020 through December

  31, 2020, in the amount of $209,464.50. Yip is a forensic accounting firm that

  specializes   in   insolvency    and   restructuring,      Ponzi    schemes,   fraud

  investigations, insolvency taxation, business valuation, and litigation

  support.   The firm is a leading boutique forensic accounting firm serving


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  clients throughout the United States and abroad. Maria Yip, who founded

  the firm in 2008, has 27 years of experience in public and forensic accounting.

  Yip has been instrumental to the Receiver in investigating and analyzing the

  financial status of the Receivership Entities and the investment scheme at

  issue in this case. Additionally, Yip provides invaluable resources on the

  tracing of investor proceeds to various assets and properties. Further, Yip has

  begun the process of gathering the investors’ investments and distributions

  in order to initiate the claims process.

        Ms. Yip is a partner in her firm and bills at $495 per hour. Manager

  Christopher Cropley, Senior Associate Danny Zamorano, and Associate Renee

  Johnson continue to work diligently on this matter. Mr. Cropley has 12 years

  of experience and a billing rate of $300, Mr. Zamorano has five years of

  experience and a billing rate of $245, and Ms. Johnson has nine years of

  experience and a billing rate is $195.      Associates Matthew Bellacosa and

  Peter Tiano also worked on this matter during this period and both have a

  billing rate of $195. Mr. Bellacosa has four years of experience and Mr. Tiano

  has two years of experience.      Copies of the statements summarizing the

  services rendered and costs incurred for the pertinent period are attached as

  composite Exhibit 5. A summary of the professionals’ hours rendered during

  the time covered by this Application is set forth below.




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           Yip Associates Time and Fees for Services Rendered

                                      Yrs
    Professional             Position Exp. Hours Rate                  Total
    Maria Yip (MMY)          Partner   27    7.30 $495.00             $3,613.50
    Christopher M. Cropley
    (CMC)                    Manager          12   134.60 $300.00    $40,380.00
    Danny D. Zamorano         Senior
    (DDZ)                    Associate        5    299.40 $245.00    $73,353.00
    Renee Johnson (RJ)       Associate        9    335.20 $195.00    $65,364.00
    Matthew J. Bellacosa
    (MJB)                    Associate        4     43.60 $195.00     $8,502.00
    Peter Tiano (PT)         Associate        2     93.60 $195.00    $18,252.00
    Fees                                                            $209,464.50
    Disbursements                                                         $0.00
    Total                                          913.70           $209,464.50


  Yip has been working diligently on the investor analysis for purposes of both

  the investor clawback claims as well as the claims process. Given the large

  number of investments held through trust companies (i.e. Goldstar,

  Provident, Vantage, etc.), Yip had to process additional documents received

  by the Receiver from the trust companies (more than 45 GB of data).

        The efforts of Yip during this quarter (and into the first quarter of

  2021) have been intensive and directed at preparing an individual analysis of

  each of the over 1200 investors’ transactions in the Ponzi scheme. These

  efforts have been complicated by the fact that the EquiAlt records are far

  from straightforward. In many cases, transactions must be evaluated and

  confirmed from bank records and other source documents. This analysis is




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  critical to the Receiver’s clawback efforts and will be invaluable during the

  claims process.

        In addition to the evaluation of investors transactions has prepared

  analysis of the funds paid by the Ponzi scheme to numerous vendors and

  unregistered sales agents who are the of claims by the receiver for the return

  of Receivership funds. While this work has been extensive, in light of the fact

  that we are dealing with a business that raised over $180 million and

  operated for over nine years, the scope of the work in the Receiver’s

  experience is not unanticipated. Having this work almost completed, the

  forensic expense should significantly decline in the second quarter of 2021,

  with future expenses being limited to litigation activities.


        For the Court’s convenience, below is a summary of the work provided

  by Yip during this billing period:

                                   October 2020

     • Continued preparation of investor analysis, including compilation and
       review of investor information, investment terms and investment
       history, and reconciliation of information obtained to bank activity of
       the Funds. Records reviewed and analyzed include investor files
       maintained by EquiAlt personnel, investor website, accounting records,
       and bank records.
     • Updated bank activity analysis based on additional bank records
       received from Bank of America.
     • Updated analysis of payments to or for the benefit of B. Rybicki.
     • Updated schedule of payments to Dale Tenhulzen.
                                 November 2020


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     • Continued preparation of investor analysis, including compilation and
       review of investor information, investment terms and investment
       history, and reconciliation of information obtained to bank activity of
       the Funds. Records reviewed and analyzed include:
          o Investor files maintained by EquiAlt personnel;
          o Investor website;
          o Monthly distribution lists maintained by EquiAlt personnel;
          o Files produced by IRA account trustees (e.g. Provident Trust
             Group, Vantage Retirement Plans, GoldStar Trust Company, IRA
             Services Trust, etc.);
          o Accounting records and bank records.
     • Communications with Receiver’s team and assistance with preparation
       of Receiver’s Status Report.
                               December 2020

     • Continued preparation of investor analysis, including compilation and
       review of investor information, investment terms and investment
       history, and reconciliation of information obtained to bank activity of
       the Funds. Records reviewed and analyzed include:
          o Investor files maintained by EquiAlt personnel;
          o Investor website;
          o Monthly distribution lists maintained by EquiAlt personnel;
          o Files produced by IRA account trustees (e.g. Provident Trust
             Group, Vantage Retirement Plans, GoldStar Trust Company, IRA
             Services Trust, etc.);
          o Accounting records and bank records.


  IV.   PDR CPAs.

        The Receiver requests the Court award PDR fees for professional

  services rendered and costs incurred from October 1, 2020 through December

  31, 2020, in the amount of $9,725.42.     PDR is an accounting firm that

  specializes in tax matters and has extensive experience with the tax




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  treatment of settlement funds. PDR is assisting the Receiver with internal

  Receivership accounting, financial reporting, and tax preparation and filing.

  The Court approved hourly billing rates for PDR’s professionals (Doc. 85).

  Later, at the request of the Court, the Receiver provided an estimate of

  anticipated monthly fees for PDR’s services – $15,000 for each of the first

  three months and $6,000 per month thereafter. As shown by the statements

  attached as composite Exhibit 6, the fees sought for each month during this

  period are below the limitation.    A summary of the professionals’ hours

  rendered during the time covered by this Application is set forth below.

                PDR’s Time and Fees for Services Rendered

        Professional           Position Hours Rate               Total
        William E. Price (WEP) Partner    7.75 $320.00          $2,480.00
        Gail Heinold (GAH)      Senior   10.00 $155.00          $1,550.00
        Sharon O'Brien (SAO)     Staff   34.85 $125.00          $4,356.25
        Fees                                                    $8,386.25
        Disbursements                                           $1,339.17
        Total                            52.60                  $9,725.42


  V.    E-Hounds, Inc.

        The Receiver requests the Court award E-Hounds fees for professional

  services rendered and costs incurred from October 1, 2020 through December

  31, 2020, in the amount of $3,165.00. E-Hounds is a computer forensics firm

  that assists the Receiver in securing and analyzing electronic data.       E-

  Hounds has been instrumental in collecting and preserving all electronic



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  records, including email records, GoDaddy records, and DropBox files as well

  as computer equipment.      E-Hounds continues to update and maintain its

  proprietary review platform, which the Receiver’s team is actively using. This

  quarter, E-Hounds also assisted the Receiver with data decryption.

  Additionally, E-Hounds has aided the Receiver with websites and domains

  owned by the Receiver. Copies of the statements summarizing the services

  rendered for the pertinent period are attached as composite Exhibit 7. A

  summary of the professionals’ hours rendered during the time covered by this

  Application is set forth below.

              E-Hounds’ Time and Fees for Services Rendered

          Professional           Position Hours Rate            Total
          Robert Rohr (RTR)     Technician  1.00 $195.00        $195.00
          Monthly Platform
          Charges                                             $2,970.00
          Fees                                                $3,165.00
          Disbursements                                           $0.00
          Total                                1.00           $3,165.00


        Receivers in other cases in the Middle District have been awarded fees

  at these same rates charged by E-Hounds. See, e.g., SEC v. Kinetic

  Investment Group, Case No. 20-cv-394-T-35SPF (motion at Doc. 73 and order

  approving at Doc. 101); CFTC v. Oasis International Group Limited, Case No.

  19-cv-886-T-33SPF (motion at Doc. 203 and order approving at Doc. 207).




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  VI.   Freeborn & Peters LLP.

        The Receiver requests the Court award Freeborn fees for professional

  services rendered and costs incurred from October 1, 2020 through December

  31, 2020, in the amount of $724.50. The Court specifically appointed attorney

  Robert Stines of Freeborn & Peters LLP to aid the Receiver with technology-

  related issues that would necessarily arise with the Receivership. Mr. Stines

  has been practicing law for over ten years and is a certified IAPP U.S.-law

  privacy professional.    His practice is focused on cyber law, electronic

  discovery, digital evidence, privacy and data security. He provides counsel

  and assistance to the Receiver related to EquiAlt’s websites, investor portals,

  internet and email accounts, and encrypted data on servers and laptops. Mr.

  Stines works with E-Hounds to segregate and review potentially privileged

  data prior to allowing access to the Receiver’s attorneys.      Copies of the

  statements summarizing the services rendered for the pertinent period are

  attached as composite Exhibit 8.     A summary of the professional’s hours

  rendered during the time covered by this Application is set forth below.

             Freeborn’s Time and Fees for Services Rendered

                                       Yrs
        Professional       Position    Exp. Hours Rate            Total
        Robert Stines      Partner      10    2.10 $345.00        $724.50
        Total                                 2.10                $724.50




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  VII. Baskin Richards PLC.

        The Receiver requests the Court award Baskin Richards fees for

  professional services rendered and costs incurred from October 1, 2020

  through December 31, 2020, in the amount of $90.00. EquiAlt’s main office is

  located in Tampa, but individual Defendant Barry Rybicki ran part of the

  EquiAlt operations in Phoenix from both his home and an executive office

  space. Recognizing this, the Court approved the retention of Arizona counsel

  and investigators as the Receiver deemed necessary. The Receiver hired the

  firm of Baskin Richards as local counsel to aid him with issues in Arizona

  related to Defendant Rybicki and other employees and sales agents located in

  Arizona, including the initial takedown of those offices. Since that time, the

  Baskin firm has assisted the Receiver in interviewing former employees of

  BR Support Services and EquiAlt in Arizona as well as sales agents who were

  involved in the solicitation of the EquiAlt Funds.

        Mr. Baskin has been practicing law for 30 years and is a former Senior

  Counsel at the Securities Division of the Arizona Corporation Commission

  and also worked for the Arizona Attorney’ General’s Office prosecuting

  securities and white collar cases. Copies of the statements summarizing the

  services rendered and costs incurred for the pertinent period are attached as

  composite Exhibit 9. A summary of the professionals’ hours rendered during

  the time covered by this Application is set forth below.


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          Baskin Richards’ Time and Fees for Services Rendered

                                      Yrs
        Professional         Position Exp       Hours       Rate      Total
        Mladen Milovic
        (MZM)                Associate    1         0.40 $225.00       $90.00
        Total                                       0.40               $90.00


                            MEMORANDUM OF LAW

        It is well settled that this Court has the power to appoint a receiver and

  to award the receiver and those appointed by him fees and costs for their

  services. See, e.g., S.E.C. v. Elliott, 953 F.2d 1560 (11th Cir. 1992) (receiver is

  entitled to compensation for faithful performance of his duties); Donovan v.

  Robbins, 588 F. Supp. 1268, 1272 (N.D. Ill. 1984) (“[T]he receiver diligently

  and successfully discharged the responsibilities placed upon him by the Court

  and is entitled to reasonable compensation for his efforts.”); S.E.C. v.

  Custable, 1995 WL 117935 (N.D. Ill. Mar. 15, 1995) (receiver is entitled to

  fees where work was of high quality and fees were reasonable); S.E.C. v.

  Mobley, 1317RCC, 2000 WL 1702024 (S.D.N.Y. Nov. 13, 2000) (court awarded

  reasonable fees for the receiver and his professionals); see also Doc. 11 ¶ 16.

  The determination of fees to be awarded is largely within the discretion of the

  trial court.   See Monaghan v. Hill, 140 F.2d 31, 34 (9th Cir. 1944).           In

  determining reasonable compensation for the services rendered by the




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  Receiver and his Professionals, the Court should consider the circumstances

  surrounding the Receivership. See Elliot, 953 F.2d at 1577.

        In determining the reasonableness of fees, the Court must calculate the

  lodestar, which is the “number of hours reasonably expended on the litigation

  multiplied by a reasonable hourly rate.” Hensley v. Eckerhart, 461 U.S. 424,

  433 (1983). This is in part based on the nature and extent of the services

  rendered and the value of those services. See Grant v. George Schumann Tire

  & Battery Co., 908 F.2d 874, 877-78 (11th Cir. 1990) (bankruptcy fee award

  case addressing the issue of attorney’s fees generally before considering

  specific requirements in the bankruptcy context). Additionally, the Court

  should consider the twelve factors set forth in Johnson v. Georgia Highway

  Express, Inc., 488 F.2d 714 (5th Cir. 1974), a case involving an award of

  attorneys’ fees under federal civil rights statutes, as incorporated by the

  Eleventh Circuit in Grant, a bankruptcy case, are as follows: (1) the time and

  labor required; (2) the novelty and difficulty of the questions presented; (3)

  the skill required to perform the legal services properly; (4) the preclusion of

  other employment by the attorney due to acceptance of the case; (5) the

  customary fee for similar work in the community; (6) whether the fee is fixed

  or contingent; (7) time limitations imposed by the client or by the

  circumstances; (8) the amount involved and results obtained; (9) the

  experience, reputation, and ability of the attorney; (10) the undesirability of


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  the case; (11) the nature and length of the professional relationship with the

  client; and (12) awards in similar cases. Based on the information provided

  herein as well as the Receiver’s Fourth Quarterly Status Report, the Receiver

  believes that the Court when considering these factors and the work

  accomplished during this quarter of the Receivership will determine that the

  Receiver’s motion for fees is reasonable and should be granted.

        A receiver and the team he or she assembles is entitled to reasonable

  compensation and courts have looked at several factors in determining

  reasonableness: (1) the results achieved by the receiver; (2) the ability,

  reputation and other professional qualities of the receiver; (3) the size of the

  estate and its ability to afford the expenses and fees; and (4) the time

  required to conclude the receivership. SEC v. W.L. Moody & Co, 374 F. Supp.

  465, 480-484 (S.D. Tex. 1974). In this case, the Receiver has continued his

  duties, investigating, locating, preserving and/or liquidating assets for the

  benefit of defrauded investors while also continuing to operate the

  Receivership Entities. This case involves over 1100 investors and over $170

  million in investments. The Receiver is responsible for the active

  management of over 350 properties, the assessment of pending construction

  and maintenance projects, as well as supervising employees and property

  managers.




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        Finally, the Receiver has sought to keep the EquiAlt investors up to

  date regarding the Court’s progress through the Receivership website,

  allowing investors to register for information related to this matter. The

  Receiver and designated paralegals at Guerra King also field telephone calls

  from investors and sales agents regarding the allegations in this case and the

  underlying investments.

        Here, because of the nature of this case, it is necessary for the Receiver

  to employ attorneys and accountants experienced and familiar with financial

  frauds, federal receiverships, securities, banking, and finance. Further, to

  perform the services required and achieve the results obtained to date, the

  skills and experience of the Receiver and the Professionals in the areas of

  fraud,   securities,   computer   and   accounting   forensics,   and   financial

  transactions are indispensable.

        As discussed above, the Receiver and GK have discounted their normal

  and customary rates as an accommodation to the Receivership and to

  conserve Receivership assets.      The rates charged by the attorneys and

  paralegals are at or below those charged by attorneys and paralegals of

  comparable skill from other law firms in the Middle District of Florida and

  have been found reasonable by this Court in granting the Receiver’s first

  Application for Fees. This case has been time-intensive for the Receiver and

  his Professionals because of the need to resolve many issues rapidly and


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  efficiently. The attached Exhibits detail the time, nature, and extent of the

  professional services rendered by the Receiver and his Professionals for the

  benefit of investors, creditors, and other interested parties. The Receiver

  anticipates that additional funds will be obtained through the Receiver’s

  negotiations or litigation with third parties.

        Although the SEC investigated and filed the initial pleadings in this

  case, as directed by the Order Appointing Receiver (see, e.g., Doc. 11 ¶¶ 2, 4),

  the Receiver is now involved with the investigation and forensic analysis of

  the events leading to the commencement of the pending action, the efforts to

  locate and gather investors’ money, the determination of investor and other

  creditor claims and any ultimate payment of these claims.            While the

  Receiver is sensitive to the need to conserve the Receivership Entities’ assets,

  he believes the fees and costs expended to date were reasonable, necessary,

  and benefited the Receivership. Notably, the Commission has no objection to

  the relief sought in this motion.      S.E.C. v. Byers, 590 F. Supp. 2d 637

  (S.D.N.Y. 2008) (quoting S.E.C. v. Fifth Ave. Coach Lines, Inc., 364 F.Supp.

  1220, 1222 (S.D.N.Y.1973) (“[I]n a securities receivership, ‘[o]pposition or

  acquiescence by the SEC to the fee application will be given great weight.’”).

                                  CONCLUSION

        Under the Order Appointing Receiver, the Receiver, among other

  things, is authorized and empowered to engage professionals to assist him in


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  carrying out his duties and obligations.    The Order Appointing Receiver

  further provides that he apply to the Court for authority to pay himself and

  his Professionals for services rendered and costs incurred. In exercising his

  duties, the Receiver has determined that the services rendered and their

  attendant fees and costs were reasonable, necessary, advisable, and in the

  best interests of the Receivership.

        WHEREFORE, Burton W. Wiand, the Court-appointed Receiver,

  respectfully requests that this Court award the following sums and direct

  that payment be made from the Receivership assets:

            Burton W. Wiand, Receiver                    $61,740.00
            Guerra King P.A.                            $119,062.03
            Yip Associates                              $209,464.50
            PDR CPAs                                      $9,725.42
            E-Hounds, Inc.                                $3,165.00
            Baskin Richards PLC                              $90.00
            Freeborn & Peters LLP                          $724.50


                   LOCAL RULE 3.01(g) CERTIFICATION

        Undersigned counsel for the Receiver has conferred with counsel for the

  SEC and is authorized to represent to the Court that the SEC does not

  oppose the relief requested in this motion.    Counsel for defendant Brian

  Davison has not consented to the relief sought. Counsel for Barry Rybicki

  takes no position on the motion. Both individual defendants reserve their

  rights as to this motion.



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                       RECEIVER’S CERTIFICATION

        The Receiver has reviewed this Fourth Quarterly Fee Application for

  Order Awarding Fees, Costs, and Reimbursement of Costs to Receiver and

  His Professionals (the “Application”).

        To the best of the Receiver’s knowledge, information, and belief formed

  after reasonable inquiry, the Application and all fees and expenses herein are

  true and accurate and comply with the Billing Instructions provided to the

  Receiver by the Securities and Exchange Commission.

        All fees contained in the Application are based on the rates listed in the

  fee schedule, attached as Exhibit 3. Such fees are reasonable, necessary, and

  commensurate with (if not below the hourly rate that is commensurate with)

  the skill and experience required for the activity performed.

        The Receiver has not included in the amount for which reimbursement

  is sought the amortization of the cost of any investment, equipment, or

  capital outlay (except to the extent that any such amortization is included

  within the permitted allowable amounts set forth in the Billing Instructions

  for photocopies and facsimile transmission).

        To the extent the Receiver seeks reimbursement for any service which

  the Receiver justifiably purchased or contracted for from a third party (such

  as copying, imaging, bulk mail, messenger service, overnight courier,

  computerized research, or title and lien searches), the Receiver has requested


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  reimbursement only for the amount billed to the Receiver by the third-party

  vendor and/or paid by the Receiver to such vendor.     The Receiver is not

  making a profit on such reimbursable services.

        The Receiver believes that the fees and expenses included in this

  Application were incurred in the best interests of the Receivership Estate.

  With the exception of the Billing Instructions and the Court-approved

  engagements described above, the Receiver has not entered into any

  agreement, written or oral, express or implied, with any person or entity

  concerning the amount of compensation paid or to be paid from the

  Receivership Estate, or any sharing thereof.

                                     s/Burton W. Wiand
                                     Burton W. Wiand, as Receiver




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                        CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 15, 2021, I electronically filed

  a true and correct copy of the foregoing with the Clerk of the Court through

  the CM/ECF system, which served counsel of record.


                                     s/Katherine C. Donlon
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